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               IN THE UNITED STATES DISTRICT COURT
              FOR THE NORTHERN DISTRICT OF GEORGIA
                         ATLANTA DIVISION

  KEVONNA MICHELLE YOUNG,

         Plaintiff,                                      CIVIL CASE NO:
  v.                                                   1:19-CV-04461-WMR
  INSTANT BRANDS, INC., and
  DOUBLE INSIGHT, INC., d/b/a
  INSTANT POT COMPANY,
         Defendants.

                                       ORDER

       With the parties at an impasse and discovery at a standstill, the Court has been

called upon to intervene so that this litigation may finally move forward. Before the

Court are Plaintiff’s Motions to Strike Defendant’s Unverified Interrogatory

Answers, Compel Discovery, and Impose Sanctions. [Doc. 41-1]. For the reasons

below, the Court grants each Motion.

       Plaintiff filed this product liability action in October of 2019, alleging that she

was burned when the lid of a pressure cooker manufactured by Defendant opened

while it was still pressurized. [Doc. 1 at 4]. Discovery commenced in February of

2020, and the Court ordered an eight-month discovery deadline of October 22, 2020.

[Doc. 19 at 1]. Upon joint motions of the parties, the Court granted two discovery

extensions, with a final discovery deadline of March 22, 2021. [Docs. 28; 32].

Notwithstanding the additional time and the Court’s warning that it was unlikely to
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grant another extension, the parties asked the Court nearly a month after the final

discovery deadline to chaperon them through discovery processes that should have

concluded months ago. [Docs. 32 at 2; 41].

      Defendant’s slow-walking and lack of cooperation are largely responsible for

the present state of discovery and the issues that underlie Plaintiff’s current

Motions.1 Defendant does not dispute that it has failed to provide adequate initial

disclosures, to verify interrogatory answers, to produce documents responsive to

Plaintiff’s document requests, or to provide a privilege log. [Doc. 49]. Instead, in its

Response to Plaintiff’s Motions, Defendant reiterates the difficulty of completing

necessary document review, assures the Court that it is doing its best to comply in a

timely manner, and asks the Court to stay discovery for 120 days. [Id. at 2–3].2

However, Defendant’s inability to comply with basic discovery requirements is not

good cause to stay discovery, and the Court refuses to do so.




1
  Plaintiff admits, and the Court understands, that Defendant’s counsel is not the
primary source of the discovery issues in this case. Rather, Defendant Instant
Brands, Inc. has failed to cooperate with routine discovery requests in this case and
in other cases and has not provided necessary information and documentation to its
own counsel.
2
  Defendant also cites a settlement conference and asks the Court, in the interest of
judicial economy, to wait before issuing a dispositive ruling on Plaintiff’s present
Motions. However, Defendant’s wait-and-see proposal is neither appropriate nor
good cause to stay discovery, particularly when considering the circumstances that
have brought these Motions before the Court today.
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      Although previous meet-and-confer conferences have been unproductive, the

Court understands that the parties have conferred and made significant progress

towards resolving their discovery disagreements since the May 26, 2021, hearing on

Plaintiff’s instant Motions. Defendant and Plaintiff now agree that Defendant’s

counsel was unaware of the volume of electronically stored information (“ESI”)

when the parties filed their Joint Preliminary Report and Discovery Plan [Doc. 17],

and thus, the Scheduling Order [Doc. 19] did not afford adequate time for discovery.

[Doc. 52 at 4]. In light of this development, the Court recently granted Defendant’s

Unopposed Motion for Extension of Time to Complete Discovery to extend the final

discovery deadline to January 14, 2022. [Docs. 53; 54].3 The Court now turns to the

individual issues addressed in Plaintiff’s Brief. [Doc. 41-1].4



3
  Although the Court commends the parties’ recent efforts to cure discovery issues,
the parties should have notified the Court about the gross ESI miscalculation well in
advance of the discovery deadline, much less nearly three months after it had passed.
4
  The Court acknowledges the recent agreements of the parties—formalized in a
letter attached as Exhibit A to the Joint Status Report—which provide for rolling
production of documents and other timing schedules agreed upon by the parties.
[Docs. 52; 52-1 (Ex. A)]. This Order also sets forth deadlines and timing schedules
regarding specific discovery issues addressed by Plaintiff’s present Motions. [Doc.
41-1]. To the extent that the deadlines and timing schedules of the parties’
agreements differ from those provided by this Order, the deadlines and schedules of
the parties’ agreements take precedence over those provided in this Order. However,
notwithstanding the parties’ agreements to the contrary, any of Defendant’s
interrogatory answers that remain unverified as of the date of this Order shall be
stricken completely rather than amended, and Defendant shall pay to Plaintiff,
through Plaintiff’s counsel, $3,000 within 30 days of the date of this Order.
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   I.      PRIVILEGE LOG AND INITIAL DISCLOSURES

        It is well established that “district courts are entitled to broad discretion in

managing pretrial discovery matters.” Perez v. Miami-Dade Cnty., 297 F.3d 1255,

1263 (11th Cir. 2002); see also Chrysler Int’l Corp. v. Chemaly, 280 F.3d 1358,

1360 (11th Cir. 2002) (“Given the caseload of most district courts and the fact that

cases can sometimes stretch out over years, district courts must have discretion and

authority to ensure that their cases move to a reasonably timely and orderly

conclusion.”). This discretion is required given “the responsibility of trial courts to .

. . avoid ‘a massive waste of judicial and private resources’ and a loss of society’s

‘confidence in the courts’ ability to administer justice.’” Perez, 297 F.3d at 1263

(quoting Johnson Enters. of Jacksonville, Inc. v. FPL Grp., Inc., 162 F.3d 1290,

1333 (11th Cir. 1998)). The Court proceeds with these principles in mind.

           a. Privilege Log

        Plaintiff asks the Court to compel Defendant’s compliance with numerous

discovery requests and requirements, and the Court addresses those individual

complaints in subsequent sections of this Order. [Doc. 41-1]. However, in many

instances, Defendant asserts claims of privilege when refusing to disclose, produce,

and answer. [Docs. 41-8 (Ex. 5) at 12–13; 41-9 (Ex. 6); 41-10 (Ex. 7)].

        A party withholding otherwise discoverable information under a claim of

privilege must “describe the nature of [that information] . . . in a manner that . . . will


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enable other parties to assess the claim.” Fed. R. Civ. P. 26(b)(5)(A). Defendant’s

generalized privilege objections, however, allow neither Plaintiff nor the Court to

assess the claims’ merits. Defendant admits that it has not yet provided a privilege

log that complies with the requirements of Rule 26(b)(5)(A) and contends that it

cannot do so until it completes further document review. [Doc 49 at 8–9]. So that

Plaintiff and the Court may assess Defendant’s privilege objections, the Court orders

Defendant, within 30 days of the date of this Order, to provide a privilege log that

conforms to the requirements of Rule 26(b)(5)(A).

         b. Initial Disclosures

      Plaintiff alleges, and Defendant does not dispute, that Defendant’s initial

disclosures do not conform to the requirements of Federal Rule of Civil Procedure

26(a)(1)(A). [Doc 41-1 at 13]. Specifically, Defendant only provided names of

“[c]urrent and former employees, agents and representatives of Instant Brands . . .

[that] may have information” relating to Plaintiff’s complaint. [Doc. 41-8 (Ex. 5) at

9]. However, the Federal Rules also require Defendant to disclose “the subjects of

that information.” Fed. R. Civ. P. 26(a)(1)(A)(i). Additionally, Defendant’s initial

disclosures identified documents in its possession that may be used to support its

claims or defenses, but Defendant has not provided “a copy––or a description by

category and location” of those documents as required by the Federal Rules. [Doc.

41-8 (Ex. 5) at 12–13]; Fed. R. Civ. P. 26(a)(1)(A)(ii).


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         The Court grants Plaintiff’s Motion to Compel as to these issues and orders

Defendant, within 30 days of the date of this Order, to disclose the subjects of the

discoverable information likely known by the current and former employees, agents,

and representatives that Defendant identified in its initial disclosures as required by

Rule 26(a)(1)(A)(i). The Court further orders Defendant, within 30 days of the date

of this Order, to produce copies––or descriptions by category and location—of the

documents Defendant identified in its initial disclosures that it may use to support

its claims or defenses as required by Rule 26(a)(1)(A)(ii). Discussed in further detail

below, the Court’s grant of Plaintiff’s Motion to Compel requires an award of

reasonable expenses under Rule 37(a)(5)(A).

   II.      INTERROGATORIES AND DOCUMENT PRODUCTION

         Plaintiff also asks the Court to strike Defendant’s unverified interrogatory

answers, to compel Defendant to provide complete and verified interrogatory

answers, and to compel Defendant to provide compete document request responses.

[Doc. 41-1].

            a. Other Similar Incidents

         Many of the interrogatories and production requests at issue center around the

discovery of other similar incidents (“OSIs”), which Defendant has failed to produce

in the present case and in cases pending before other courts. [Id. at 18–19]. Namely,




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Plaintiff seeks, through interrogatories5 and document production requests,6

discovery of other pressure cooker models sold by Defendant, as well as consumer

complaints about those models and the model at issue in this litigation. Defendant

has objected to Plaintiff’s requests and interrogatories on grounds that they are

overly broad and seek information that is not proportional to the needs of this case

or that might be privileged or subject to work-product protection. [Docs. 41-9 (Ex.

6) at 5–17, 26; 41-10 (Ex. 7) at 32].

         Eleventh Circuit precedent dictates that “[e]vidence of similar occurrences

may be offered to show a defendant’s notice of a particular defect or danger, the

magnitude of the defect or danger involved, the defendant’s ability to correct a

known defect, the lack of safety for intended uses, the strength of a product, the

standard of care, and causation.” Hessen ex rel. Allstate Ins. Co. v. Jaguar Cars, Inc.,

915 F.2d 641, 650 (11th Cir. 1990). Although the Eleventh Circuit requires the

conditions that caused other incidents to be substantially similar and not too remote

for evidence of those incidents to be admissible,7 “courts have set forth no black

letter . . . law regarding discovery of predecessor models in products liability cases.”

Hofer v. Mack Trucks, Inc., 981 F.2d 377, 380 (8th Cir. 1992) (emphasis added).


5
    See Doc. 41-9 (Ex. 6) at 5–17, 26.
6
    See Docs. 41-10 (Ex. 7) at 25, 32; 41-12 (Ex. 9) at 3.
7
    See Hessen, 915 F.2d at 649.
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      Nevertheless, “discovery of similar, if not identical, models is generally

permitted,” and “different models of a product will be relevant if they share with the

accident-causing model those characteristics pertinent to the legal issues raised in

the litigation.” Id. at 380–81 (quoting Fine v. Facet Aerospace Prods., 133 F.R.D.

439, 441 (S.D.N.Y. 1990)). As with pre-incident OSIs, courts have also recognized

that post-incident OSIs are discoverable so long as the subsequent incidents are

substantially similar to the subject incident. See Burke v. U-Haul Int’l, Inc., No.

3:03CV-32, 2006 WL 3760317, at *2 (W.D. Ky. Dec. 15, 2006) (“Both prior and

subsequent substantially similar accidents may be introduced into evidence to show

dangerousness and causation.”); see also Dollar v. Long Mfg., N.C., Inc., 561 F.2d

613, 617 (5th Cir. 1977) (“While an accident occurring after the one under

investigation might not have been relevant to show defendant’s prior knowledge or

notice of a product defect, it may have been highly relevant to causation . . . .”).8

      As such, the Court orders Defendant, within 30 days of the date of this Order,

to produce the following information for each pressure cooker model that produced

an event in which the lid blew off while the cooker was still pressurized during the

five years preceding Plaintiff’s incident in this case and through the present: (1) the

model number; (2) the specifications that would permit a reasonable person to


8
 All decisions of the former Fifth Circuit handed down prior to the close of business
on September 30, 1981, are binding precedent in the Eleventh Circuit. See Bonner
v. City of Prichard, 661 F.2d 1206, 1207 (11th Cir. 1981) (en banc).
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determine whether the model is substantially similar to the IP-LUX60 V3 in terms

of its lid and its safety features for using the product’s pressure cooker feature; (3) a

description of the nature of the event, including the date and injuries allegedly

sustained; and (4) for those incidents which Defendant maintains were not

substantially similar to the incident alleged by Plaintiff, a statement by Defendant as

to why it contends that the model and/or incident is not substantially similar to the

IP-LUX60 V3 in terms of the features relevant to this case.9 The Court further orders

Defendant, within 30 days of the date of this Order, to produce all documents that

record or reflect any communications that Defendant has had with the Consumer

Product Safety Commission (CPSC) and any other governmental or regulatory entity

regarding Defendant’s pressure cookers, and all documents provided to such entities

by Defendant and received by Defendant from such entities.




9
  As was noted at the hearing on May 26, 2021, the Court is adopting the terms of
Judge Land’s Order from a substantially similar case in the Middle District of
Georgia in which Plaintiff’s counsel filed suit against Defendant Instant Brands, Inc.
See Snyder v. Instant Brands, Inc., No. 4:19-CV-212, 2021 WL 1989933, at *2
(M.D. Ga. May 18, 2021). This Court’s Order differs only in that it requires
Defendant to produce information about incidents occurring through the present.
The Court finds the terms of this Order reasonable considering that most of the
information that Defendant is required to produce will be duplicative to that required
by Judge Land’s Order.

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          b. Unverified Interrogatory Answers

      Federal Rule of Civil Procedure 33(b)(3) provides that “[e]ach interrogatory

must, to the extent it is not objected to, be answered separately and fully in writing

under oath.” Fed. R. Civ. P. 33(b)(3). When a party fails to sign a response under

oath, “the court must strike it unless a signature is promptly supplied after the

omission is called to the attorney’s or party’s attention.” Fed. R. Civ. P. 26(g)(2).

Defendant does not dispute that it has yet to provide verified interrogatory answers

but merely reassures the Court that it will amend its responses “in the very near

future.” [Doc. 49 at 8]. However, the Court finds little solace in Defendant’s

assurances of timeliness in the sixteenth month of discovery in this case. The Court

orders all of Defendant’s interrogatory answers that remain unverified as of the date

of this Order to be stricken completely. The Court further orders Defendant, within

30 days of the date of this Order, to answer all interrogatories in accordance with

Federal Rule of Civil Procedure 33.

   III.   SANCTIONS

      The Court finds that sanctions are both warranted and required in this case.

Federal Rule of Civil Procedure 37(a)(5)(A) provides that if a “motion [to compel]

is granted . . . the court must, after giving an opportunity to be heard, require the

party or deponent whose conduct necessitated the motion . . . to pay the movant’s

reasonable expenses incurred in making the motion, including attorney’s fees.”


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Thus, unless an exception applies, the Court’s grant of Plaintiff’s Motion to Compel

as to initial disclosures, interrogatory answers, document request responses, and a

privilege log requires an award of reasonable expenses. Plaintiff served a meet-and-

confer letter on Defendant’s counsel and met and conferred with Defendant before

seeking the Court’s intervention. Thus, the exception in Rule 37(a)(5)(A)(i) does not

apply. [Doc. 41-13 (Ex. 10)]. Further, the Court does not find Defendant’s

noncompliance with discovery to be substantially justified, nor does it find an award

of expenses unjust.10 As such, the Court will impose sanctions.

      In Declarations submitted to the Court, Plaintiff’s counsel stated that the fees

and costs incurred for prosecuting and preparing the present Motions were $26,075:

35 hours of a partner’s time at a rate of $725 per hour and 2 hours of an associate’s

time at a rate of $350 per hour. [Docs. 41-2 at 13; 41-3 at 10]. While the Court

acknowledges that Plaintiff’s counsel has devoted some time in filing these Motions,

the Court finds that a reasonable sanction is $3,000––6 hours of a partner’s time at

$500 per hour. 11 Within 30 days of the date of this Order, Defendant shall pay to

Plaintiff, through Plaintiff’s counsel, a sanctions award of $3,000.


10
   See Fed. R. Civ. P. 37(a)(5)(A)(ii–iii). Defendant’s counsel now claims it is
conducting “colossal” ESI review, but Defendant should have informed the Court of
this months ago, not after the discovery deadline had already passed. [Doc. 49 at 2].
11
   Plaintiff’s counsel even suggests that the Court calculate expenses by setting the
partner’s rate at $500 per hour rather than $725 per hour if it finds the $725 per hour
rate to be “too high for these circumstances.” [Doc. 41-2 at 12].
                                          11
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   IV.   CONCLUSION

      For the above reasons, Plaintiff’s Motions to Strike Defendant’s Unverified

Interrogatory Answers, Compel Discovery, and Impose Sanctions are GRANTED.

Defendant shall, within 30 days of the date of this Order, pay Plaintiff, through

Plaintiff’s counsel, $3,000 in sanctions as explained above. The Court further

ORDERS all of Defendant’s interrogatory answers that remain unverified as of the

date of this Order to be stricken completely. Additionally, the Court ORDERS

Defendant to produce, answer, and comply with the discovery requests and

requirements to the extent ordered above.

      IT IS SO ORDERED, this 14th day of July, 2021.




                                       12
